
James A. Roberts, III, Attorney at Law, Jessica E. Bowers, Attorney at Law, For Hartford Fire Insurance Company.
Matthew C. Bouchard, Attorney at Law.
W. Sidney Aldridge, Attorney at Law, Raleigh, For Old Republic National Title Insurance Company, et al.
Judson A. Welborn, Attorney at Law, Natalie M. Rice, Attorney at Law, Raleigh, For United Bank &amp; Trust Company, et al.
J. Whitfield Gibson, Attorney at Law, Raleigh.
Scott McAllister, Manager/Pro Se, Vincent S. Tryer, Jr., Manager/Pro Se, For Helm Builders, LLC.
Charles G. Brown, Attorney at Law, For Shrijee LLC.
The following order has been entered on the Motion for Extension of Time to File Brief filed on the 22nd of June 2016 by Defendant (Hartford Fire Insurance Company):
"Motion Allowed by order of the Court in conference, this the 22nd of June 2016."
*389Defendant shall have up to and including the 25th day of July 2016 to file and serve his/her brief with this Court.
